                   THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                                   NO. 5:06-CV-114-D(3)

JAMES M. GALLAGHER, as Trustee )
for and on behalf of National Packaging )
Solutions Group Trust, et al.,          )
                                        )
       Plaintiffs,                      )
                                        )
vs.                                     )          MEMORANDUM AND
                                        )          RECOMMENDATION
SOUTHERN SOURCE PACKAGING, )
LLC,                                    )
                                        )
       Defendant.                       )
_________________________________ )

       This Cause comes before the Court upon Defendant’s Motion for Summary Judgment

[DE’s 24-25]. Plaintiffs have responded to this motion [DE-26] and Defendant has filed a

reply [DE-28]. On June 13, 2007, in light of the Court’s ruling on Plaintiffs’ motion to file

an amended complaint and motion to intervene, all parties were instructed to file supplemental

memoranda on the issues presented in the Motion for Summary Judgment [DE-30]. The

parties have done so [DE’s 38-39] and the matter is now ripe for adjudication. Pursuant to

28 U.S.C. 636(b)(1), this matter is before the undersigned for the entry of a Memorandum and

Recommendation. For the following reasons, it is HEREBY RECOMMENDED that

Defendant’s Motion for Summary Judgment be DENIED.

I. BACKGROUND

       On September 17, 2004, Defendant entered into an agreement (“Sale Agreement”) to




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purchase certain assets of Plaintiffs National Packaging Solutions Group, Inc., Pettyjohn

Packaging, Inc. and Custom Container Corp. (“Sellers”). Defendant promised in the Sale

Agreement to make a deferred payment of $1,500,000.00 (“Deferred Payment”) to the Sellers

on September 30, 2005. The Sale Agreement specifically provides that it should be construed

in accordance with and governed by the laws of the State of Indiana. [DE 25-2, Art. 18, ¶

I, pg. 22]

       Three months after the execution of the Sale Agreement, the Sellers transferred,

assigned, and delivered all of their rights, titles and interests in certain assets of Sellers,

including any amounts due to the Sellers pursuant to the Sale Agreement, to the National

Packaging Solutions Group Trust (“Trust”). According to Defendant, this assignment violated

the terms of the Sale Agreement because Sellers did not obtain the prior written consent of

Defendant. Specifically, the Sale Agreement provides:

              Successors and Assigns. This Agreement shall bind and inure to the benefit of
              the parties and their successors and assigns; provided, that neither party shall
              assign this Agreement or any rights under this Agreement to any other person
              without the prior written consent of the other, which consent may be withheld
              by either party hereto in its respective sole discretion, except that Buyer may
              assign all rights and obligations under this Agreement to a limit partnership or
              limited liability company in which Buyer is a general partner or member. Any
              other attempted or purported assignment or transfer of this Agreement by a
              party without such consent of the other party shall be null and void.
              [DE 25-2, Art. 18, ¶ D, pg. 21]

       Defendant failed to make the Deferred Payment when due. However, Defendant

contends that because it suffered damages as a result of untrue representations and warranties

made by Sellers it was not required to make the Deferred Payment. Plaintiff James M.


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Gallagher, as trustee of the Trust, sought to recover the unpaid sum by filing the Original

Complaint in this matter [DE-1]. On June 26, 2007, an Amended Complaint was filed which

added Sellers as named Plaintiffs [DE-33].

II. ANALYSIS

       Summary judgment is appropriate when there exists no genuine issue of material fact

and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). The party seeking summary

judgment bears the burden of initially coming forward and demonstrating the absence of a

genuine issue of material fact. Celotex Corporation v. Catrett, 477 U.S. 317 (1986); Ross v.

Communications Satellite Corp., 759 F.2d 355, 364 (4th Cir. 1985). The moving party can

bear his burden either by presenting affirmative evidence, or by demonstrating that the non-

movant's evidence is insufficient to establish his claim. Celotex, 477 U.S. at 331 (Brennan,

J., dissenting). Once the moving party has met its burden, the non-moving party must then

affirmatively demonstrate that there is a genuine issue which requires trial. Matsushita

Electrical Industrial Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). As a general

rule, the non-movant must respond to a motion for summary judgment with affidavits, or other

verified evidence, rather than relying on his complaint or other pleadings. Celotex, 477 U.S.

at 324; see also, Williams v. Griffin, 952 F.2d 820, 823 (4th Cir. 1991). In the summary

judgment determination, the facts and all reasonable inferences must be viewed in the light

most favorable to the non-movant. Anderson, 477 U.S. at 255. Construction of a written

contract is a question of law for which summary judgment is particularly appropriate.

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Ramirez v. Am. Family Mut. Ins. Co., 652 N.E. 2d 511, 514 (Ind. Ct. App. 1995).

       In the instant motion for Summary Judgment, Defendant seeks the dismissal of Plaintiff

Gallagher from this action. Defendant argues that Plaintiff Gallagher lacks standing to be

named as a Plaintiff in this matter because Defendant did not provide consent to the

assignment of the Sale Agreement to the Trust. Therefore, Defendant asserts that Plaintiff

Gallagher is neither a party to the Sale Agreement nor in privity with those who are parties

to the Sale Agreement. Daimler Chrysler Corporation v. Franklin, 814 N.E. 2d 281, 285-86

(Ind. App. 2004)(stranger to the contract is not in privity with parties to contract). Under

Indiana law, generally only those who are parties to a contract or those in privity with a party

have a right to enforce the contract. Indiana Gaming Co. v. Blevins, 724 N.E. 2d 274, 277

(Ind. App.) trans. denied, 735 N.E. 2d 235 (2000). However, Plaintiffs argue that a

prohibition of assignment of rights under the contract does not prohibit assignment of claims

for money damages for nonperformance.

       Indiana common law recognizes the assignment of contractual rights. Chrysler Fin.

Co., LLC v. Ind. Dep’t of State Revenue, 761 N.E. 2d 909, 912 (Ind. Tax 2002). The general

rules of contract interpretation apply in construing assignment agreements. Downing v. Dial,

426 N.E. 2d 416, 419 (Ind. App. 1981). Specifically:

              When construing the meaning of a contract, our primary task is to determine
              and effectuate the intent of the parties. First, we must determine whether the
              language of the contract is ambiguous. The unambiguous language of a
              contract is conclusive upon the parties to the contract and upon the courts. If
              the language of the instrument is unambiguous, the parties’ intent will be
              determined from the four corners of the contract . . .We read the contract as a
              whole and will attempt to construe the contractual language so as not to render

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              any words, phrases, or terms ineffective or meaningless.
              Whitaker v. Brunner, 814 N.E. 2d 288, 293-94 (Ind. App. 2004)(internal
              quotations and citations omitted).

However, because anti-assignment clauses are a restriction on alienation, they must be strictly

construed against the party urging the restriction. Elzinga & Volkers, Inc. v. LSSC Corp., 838

F. Supp 1306, 1313 (N.D.Ind. 1993) Likewise, the “case law of most states is in accord that

a prohibition on assignment does not prohibit assignment of claims for money damages for

nonperformance.” Id. at 1314 (collected citations omitted). The Restatement (Second) of

Contracts further explains:

              A contract term prohibiting assignment of rights under the contract, unless a
              different intention is manifested . . .does not forbid assignment of a right to
              damages for breach of the whole contract or a right arising out of the assignor’s
              due performance of his entire obligation . . .gives the obligor a right to damages
              for breach of the terms forbidding assignment but does not render the
              assignment ineffective . . .
              Restatement (Second) of Contracts § 322(2)(a).

Thus “an antiassignment provision in a contract is unenforceable against an assignee unless

a different intention is manifested.” Bank of America, N.A. v. Moglia, 330 F.3d 942, 948 (7th

Cir. 2003)(citing Restatement (Second) of Contracts § 322(2)). Each party cites § 322(2) as

supporting their position. Plaintiffs argue that § 322(2)(a) is dispositive because “[t]he only

right being assigned by [Sellers] is a right arising out of [Seller’s] due performance - namely,

the right to the deferred payment in the amount of $1.5 million.” [DE-26, pg. 2-3]. Likewise,

the Original Complaint filed by Plaintiff Gallagher asserts, inter alia, a breach of contract

claim. However, Defendant argues that the parties manifested an intention to prohibit an

assignment for a right arising out of Sellers’ due performance or for breach of contract.

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       The antiassignment provision of the Sale Agreement states “that neither party shall

assign this Agreement or any rights under this Agreement to any other person without the

prior written consent of the other” [DE 25-2, Art. 18, ¶ D, pg. 21]. Although the provision

mentions “this Agreement” and “any rights under this Agreement”, there is no language in the

Sale Agreement specifically forbidding assignment of a right arising out of due performance

or of the right to collect damages for breach. Nor has Defendant forwarded any other

evidence to indicate the parties’ intention was different. Accordingly, the undersigned finds

that the parties have not manifested a different intention which would supercede the default

provisions of § 322(2). Rather, this situation is precisely that which is anticipated by the

Restatement (Second) of Contracts. Namely, “rights” are prohibited from being assigned, but

nothing in the record specifically addresses a right arising out of due performance or the right

to collect damages for breach. See also Restatement (Second) of Contracts § 322, illus. 1 &

2.

       In addition, Defendant itself has cited with approval cases which indicate that parties

drafting a antiassignment provision must be clear whether its terms apply to: 1) the

assignment of rights; 2) the assignment of duties; or 3) both. Traicoff v. Digital Media, Inc.,

439 F. Supp. 2d 872, 879 (S.D.Ind. 2006). The antiassignment clause in question initially

states that it prohibits the transfer of the Sale Agreement or any rights under it. However,

when later describing which assignments are rendered null and void it only mentions

assignments of “the Agreement.” See Restatement (Second) of Contracts §322(2)(b).

Regardless, the antiassignment provision of the Sale Agreement does not divest Plaintiff

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Gallagher of standing to sue in this matter. On the contrary, Plaintiff Gallagher is in privity

with Sellers. Polinsky v. Violi, 803 N.E. 2d 684, 687 (Ind. App. 2004)(describing privity of

contract as “a mutual or successive relationship as to the same right of property, or an

identification of interest of one person with another as to represent the same legal right”).

Accordingly, Defendant’s Motion for Summary Judgment is meritless.

III. CONCLUSION

For the aforementioned reasons, it is RECOMMENDED that Defendant’s Motion for

Summary Judgment [DE-24] be DENIED.

        SO RECOMMENDED in Chambers at Raleigh, North Carolina this 18th day of July,

2007.




                                           __________________________________
                                                  William A. Webb
                                                  U.S. Magistrate Judge




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